      Case 1:18-cv-00427-JTN-ESC ECF No. 15 filed 06/18/18 PageID.54 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


 JULIE ALBERTS, Individually and
 on behalf of others similarly situated,

         Plaintiff,                                     Case No. 1:18-cv-427

 v.                                                     HON. JANET T. NEFF

 CITIZENS DISABILITY, LLC,

       Defendant.
 _______________________________/


                                      ORDER OF DISMISSAL

        The Court having reviewed Plaintiff’s Notice of Voluntary Dismissal Without Prejudice (ECF

No. 14) and pursuant to FED. R. CIV. P. 41(a)(2):

        IT IS HEREBY ORDERED that Plaintiff’s claims against Defendant Citizens Disability, LLC

are DISMISSED without prejudice, and without costs, sanctions, or attorneys fees.

        This is a Final Order and closes the case.



Dated: June 18, 2018                                       /s/ Janet T. Neff
                                                          JANET T. NEFF
                                                          United States District Judge
